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                                                                                                                              ExhIbit C

  STAFF ,READ ONLY                                                                                                            Page 1 of 2    Attachment A, IMPP 12-111
                                                                                                                                            Effective 08-07-13
                                                           KANSAS DEPARTMENT OF CORRECTIONS
                                                                                                                                          �ECENED
                                                                  USE OF FORCE REPORT
                                                                                                                                      fr[ 0 ,! i'O:''
 FACILITY I PAROLE REGION:                         EDCF - Central Unit               LOCATION/UNIT: Central                      FILE#·                 �      1-0 l,<;{'
                                                                                                           =�---                    1v1AJOR S OFFICE

                            �e=di=c=al�R�o=o=m�---------------------------
 LOCATION OF INCIDENT: �A�l�M


   NAME & NUMBER OF INMATES INVOLVED                                                                       DATE OF INCIDENT                    TIME OF INCIDENT

   Blake, Shidon #96323
                                                          ·Jr                                                      91312020                              1950
                                                 ,-?/'                       -
                                                                                                            DATE OF REPORT                      TIME OF REPORT

                                                                                                                   91312020                              2100

   NAME, POSITION TITLE AND ID# OF STAFF INVOLVED*                                                       WEAPONS/MUNITIONS USED:

" �Wallace, Robert CSI K0000218514 ✓                                                                        -- Firearms
V Chastain, Shawn CSI 1(0000207099 v'                                                                       __Chemical Agents
v Gorman, Sage CST 1(0000233070 /                                                                           -- K-9 Ele ments
                                                                                                            -- Electronic Control D evice
                                                                                                            __ Striking Instruments
                                                                                                            __ High Pressure Water
   *All staff involved in or witnessing n use of force n1rnlicntion shall submit a narrative reQorl.        __ Impact Munitions
                                                                                                            XXX Other <Describe) Unarmed Physical Intervention

   LEVEL OF FORCE USED                                                                       XXXXREACTIVE FORCE                        --PLANNED FORCE*

   XXXX Less Than Lethal Force                                                               *Print name and title of person giving authorization:

  __ Deadly Force                                                                            NIA
                                                                                             Name                        Title

   DOCUMENTATION:

    Video Tape Made? _x_ Yes         No         -             Number Of Tapes 1
    Printed name & title of person making video tape recording(s):
    Name Nordguist                             Title COi
    Video Tapes Turned Over To: Name Captain's Office                                    Title NIA
    Still Photographs Made? X Yes -- No               Number Of Photographs: l_ Crime Scene Q_Injw-ies                                       J_Staff
    Printed Name & Title Of Person Taking Photographs
    Name Nordguist                  ✓          Title COi
    Printed Name & Title of person waiving the need for taking photographs:
    Name NIA                                   Title NIA
    Photographs turned over to:
    Name Captain's Office                               Title NIA

  OTHER REPORTS PREPARED (indicate number or type and attach a copy)

   Number of Narrative Reports: _3_

  Segregation Reports: Yes_ No _X_                                                                        Incident Re ports
  Disciplinmy Rep01ts: Yes -- No X                                                                         of Staff Injuries: Yes -- No




                                                                                                                                                          •\

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